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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,             )       CASE NO. 5:07CR574
                                      )
                       PLAINTIFF,     )       JUDGE SARA LIOI
                                      )
vs.                                   )
                                      )       JUDGMENT ENTRY
                                      )
                                      )
CHEVALIEE ROBINSON, et al.,           )
                                      )
                                      )
                       DEFENDANTS.    )

              For all of the reasons set forth in the Opinion and Order filed

contemporaneously with this Judgment Entry, it is hereby ORDERED, ADJUDGED,

and DECREED that the Government’s Motion to Dismiss (Doc. No. 331) the pro se

application of Petitioner Robert L. Meaux is GRANTED. Petitioner’s application is

DISMISSED.

              IT IS SO ORDERED.


Dated: July 27, 2009
                                          HONORABLE SARA LIOI
                                          UNITED STATES DISTRICT JUDGE
